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                        CERTIFICATION BY TRANSLATOR


I, Aleksei Timashkov, certify that I am competent to translate in the English and Russian
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                                  Independent Auditor's Report

To the Shareholders of Open Joint Stock Company “Sberbank of Russia”:

We have audited the accompanying annual report of Open Joint Stock Company “Sberbank of Russia”
(hereinafter referred to as the “Bank”), which includes the balance sheet as of January 1, 2013, the
profit and loss statement for 2012, the cash flow statement for 2012, the report on capital adequacy,
the amount of reserves for doubtful loans and other assets as of January 1, 2013, information on
mandatory standards as of January 1, 2013, and the explanatory notes.

Responsibility of the audited entity for the annual report:

The Bank's management is responsible for the preparation and accuracy of the annual report in
accordance with the rules for preparing annual reports established in the Russian Federation and for
the internal control system necessary for preparing an annual report that does not contain material
misstatements due to fraud or error.

Responsibility of the auditor:

Our responsibility is to express an opinion on the accuracy of this annual report based on the audit
we conducted.

We conducted our audit in accordance with the federal auditing standards in force in the Russian
Federation and international auditing standards. These standards require compliance with applicable
ethical standards as well as planning and conducting the audit to obtain reasonable assurance that the
annual report is free of material misstatement.




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The audit involves performing audit procedures to obtain audit evidence supporting the amounts and
disclosures in the annual report. The choice of audit procedures is based on our judgment, which
includes an assessment of the risk of material misstatement in the annual report, whether due to fraud
or error. In assessing this risk, the auditor considers the internal control system that ensures the
preparation and accuracy of the annual report, in order to plan appropriate audit procedures but not
for the purpose of expressing an opinion on the effectiveness of the internal control system. The audit
also includes an evaluation of the appropriateness of the accounting policies used and the feasibility
of management's estimates, as well as the overall presentation of the annual report.

We believe that the audit evidence we have obtained is sufficient and appropriate to provide a basis
for our opinion.

Opinion

In our opinion, the annual report fairly presents, in all material respects, the financial position of the
Bank as of January 1, 2013, the results of its financial and business activities, and the movement of
cash flows for 2012, in accordance with the rules for preparing annual reports established in the
Russian Federation.

Other information

As indicated in paragraph 1 of the explanatory note, in accordance with the instruction of the Central
Bank of the Russian Federation dated January 20, 2009, No. 2172-U, "On the Publication and
Provision of Information on the Activities of Credit Institutions" (hereinafter referred to as
"Instruction No. 2172-U"), the Bank's management has decided to publish the explanatory note as
part of the annual report, which is posted on the Bank's website on the Internet (www.sbrf.ru;
www.sberbank.ru). The forms of the annual report (balance sheet, profit and loss statement, cash flow
statement, capital adequacy report, amount of reserves for doubtful loans and other assets,
information on mandatory standards) are published in open print and posted on the Bank's website as
part of the annual report. This auditor's report on the accompanying annual report should be
considered together with all the forms of reporting and the explanatory note, which are integral parts
of the annual report.




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                                                                            [Translated from Russian]

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The accompanying annual report is not intended to present the financial position and results of
operations in accordance with generally accepted accounting principles or methods of accounting in
countries and other jurisdictions outside the Russian Federation. Accordingly, the accompanying
annual report is not intended for users unfamiliar with the principles, procedures, and methods of
accounting adopted in the Russian Federation.

[Signature]
S.M. Taskaev
Partner
CJSC "Ernst & Young Vneshaudit"
March 18, 2013




Information on the audited entity
Name: Open Joint Stock Company “Sberbank of Russia”.
Data on state registration of the credit institution by the Central Bank of the Russian Federation:
No. 1481 dated June 20, 1991.
Data on registration in the Unified State Register of Legal Entities of a legal entity: Certificate of
state registration No. 1027700132195 dated August 16, 2002.
Location: 117997, Russia, Moscow, Vavilova St., 19

Information on the auditor
Name: Closed Joint Stock Company “Ernst & Young Vneshaudit”
Primary state registration number (OGRN): 1027739199333
Location: 115035, Russia, Moscow, Sadovnicheskaya emb., 77, bldg. 1
Closed Joint Stock Company “Ernst & Young Vneshaudit” is a member of the Non-Profit
Partnership “Audit Chamber of Russia” (NP ACR). Closed Joint Stock Company “Ernst & Young
Vneshaudit” is registered in the register of auditors and audit organizations of NP ACR under
No. 3027 and is also included in the control copy of the register of auditors and audit organizations
under the primary registration number 10301017410.




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     12.       Sberbank of Russia Banking (Consolidated) Group
The number of participants in the Bank’s consolidated group increased by 57 companies during
2012, reaching a total of 204 companies by January 1, 2013, of which the Bank has:
     • Direct influence over 37 companies;
     • Indirect influence over 163 companies;
     • Both direct and indirect influence over 4 companies.
The Bank prepares consolidated financial statements in accordance with the accounting policy of
the Sberbank of Russia Banking (Consolidated) Group. As of January 1, 2013, the consolidated
financial statements of the Sberbank of Russia Group included the financial statements of 98
companies39:
                                                                             Group’s control share in participant's
                              Company name
                                                                                      charter capital, %
Direct participation of the Bank
1. Closed Joint Stock Company “Sberbank Leasing”                                                         100.0000%
2. LLC “Sberbank Capital”                                                                                100.0000%
3. Subsidiary Bank JSC “Sberbank of Russia”                                                               99.9977%
4. PJSC “SUBSIDIARY BANK OF SBERBANK OF RUSSIA”                                                          100.0000%
5. LLC “Sberbank Investments”                                                                            100.0000%
6. Closed Joint Stock Company “Sberbank Automated Trading System”                                        100.0000%
7. OJSC “BPS-Sberbank”                                                                                    97.9055%
8. LLC “Prospective Investments” (group of companies)*                                                   100.0000%
9. OJSC “Detsky Mir - Center”                                                                             25.0338%
10. SB International S.a.r.l. (group of companies)*                                                      100.0000%
11. Sberbank Europe AG (group of companies)*                                                             100.0000%
12. LLC “Sberbank Financial Company”                                                                     100.0000%
13. LLC “BNP Paribas Vostok”                                                                              70.0000%
14. DENIZBANK ANONIM SIRKETI (group of companies)*                                                        99.8526%
Indirect participation of the Bank
1. OJSC “Krasnaya Polyana”                                                                                50.0290%
2. LLC “TransKomStroy”                                                                                    24.9900%
3. Sherigo Resources Limited                                                                              41.2498%
4. LLC “Crystal Towers”                                                                                   50.0100%
5. LLC “Automobile Company DerVeys”                                                                       51.0000%



The remaining 106 companies have an insignificant impact on the consolidated financial indicators
of the Sberbank of Russia Group.
This explanatory note is part of the annual report of OJSC “Sberbank of Russia” for 2012 according
to Russian accounting standards and does not include data from the consolidated financial
statements of the Sberbank of Russia Group.
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39
   The total balance sheet amount of the mentioned companies exceeds 1% of the balance sheet of Sberbank of Russia.

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We believe that the audit evidence we have obtained is sufficient and appropriate to provide a basis
for our audit opinion.

Opinion
In our opinion, the consolidated financial statements present fairly, in all material respects, the
financial position of OJSC “Sberbank of Russia” and its subsidiaries as of December 31, 2013, their
financial performance, and cash flows for 2013 in accordance with International Financial
Reporting Standards.

[Signature]
S.M. Taskaev
Partner
CJSC “Ernst & Young Vneshaudit”

March 24, 2014




Information on the audited entity
Name: OJSC “Sberbank of Russia”
Registration entry in the Unified State Register of Legal Entities on August 16, 2002: State
registration number (OGRN) 1027700132195
Location : 117997, Russia, Moscow, Vavilova St., 19

Information on the auditor
Name: CJSC “Ernst & Young Vneshaudit”
Registration entry in the Unified State Register of Legal Entities on September 16, 2002: State
registration number (OGRN) 1027739199333
Location: 115035, Russia, Moscow, Sadovnicheskaya emb., 77, bldg. 1
CJSC “Ernst & Young Vneshaudit” is a member of the Non-Profit Partnership “Audit Chamber of
Russia” (NP ACR). CJSC “Ernst & Young Vneshaudit” is registered in the register of auditors and
audit organizations of NP ACR under No. 3027 and is also included in the control copy of the
register of auditors and audit organizations under the primary registration number (OGRN)
10301017410.
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                                        OKPO 00139790



                                            Independent Auditor's Report

To the Shareholders and the Supervisory Board
of OJSC “Sberbank of Russia”:

We have audited the accompanying consolidated financial statements of OJSC “Sberbank of Russia” and its
subsidiaries, which comprise the consolidated statement of financial position as of December 31, 2013, the consolidated
statement of profit and loss, the consolidated statement of comprehensive income, the consolidated statement of
changes in equity, the consolidated statement of cash flows for the year 2013, as well as the notes on significant aspects
of accounting policies and other explanatory information.

Responsibility of the Audited Entity for the Consolidated Financial Statements

The management of the audited entity is responsible for the preparation and fair presentation of these consolidated
financial statements in accordance with International Financial Reporting Standards and for such internal control system
which is necessary to enable the preparation of consolidated financial statements that are free from material
misstatement, whether due to fraud or error.

Auditor's Responsibility

Our responsibility is to express an opinion on the fair presentation of these consolidated financial statements based on
our audit.

We conducted our audit in accordance with federal auditing standards applicable in the Russian Federation and
international auditing standards. Those standards require compliance with relevant ethical requirements and the
planning and performance of the audit to obtain reasonable assurance that the consolidated financial statements are free
from material misstatement.

An audit involves performing procedures to obtain audit evidence about the amounts and disclosures in the consolidated
financial statements. The procedures selected depend on our judgment, including the assessment of the risks of material
misstatement of the consolidated financial statements, whether due to fraud or error. In making those risk assessments,
we consider internal control relevant to the preparation and fair presentation of the consolidated financial statements in
order to design audit procedures that are appropriate in the circumstances, but not for the purpose of expressing an
opinion on the effectiveness of the entity's internal control. An audit also includes evaluating the appropriateness of
accounting policies used and the reasonableness of accounting estimates made by management, as well as evaluating
the overall presentation of the consolidated financial statements.
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[Logo of OJSC “Sberbank of Russia”]
Notes to the Consolidated Financial Statements - December 31, 2013


40      Major Subsidiaries
The table below contains information about the Bank's main subsidiaries as of December 31, 2013:
                                                                                           Country of
Name                                           Type of Activity          Ownership Share
                                                                                           Incorporation
Subsidiaries:
DenizBank (DenizBank AS)                       Banking activity          99.85%            Turkey
Sberbank Europe AG                             Banking activity          100.00%           Austria
OJSC "BPS-Sberbank"                            Banking activity          97.91%            Republic of Belarus
Subsiduary Bank of JSC "Sberbank"              Banking activity          100.00%           Kazakhstan
JSC "Sberbank of Russia"                       Banking activity          100.00%           Ukraine
Sberbank Switzerland (Sberbank Switzerland AG) Banking activity          99.15%            Switzerland
"Cetelem Bank" LLC (formerly "BNP Paribas
                                               Banking activity          74.00%            Russia
Vostok" LLC)
CJSC "Sberbank Leasing"                        Leasing                   100.00%           Russia
LLC "Sberbank Capital"                         Financial services        100.00%           Russia
"Troika Dialog" Group of Companies             Financial services        100.00%           Cayman Islands
CJSC "Rublyovo-Arkhangelskoye"                 Construction              100.00%           Russia
LLC "Sberbank Investments"                     Financial services        100.00%           Russia
LLC "Auction"                                  Services                  100.00%           Russia
OJSC "Krasnaya Polyana"                        Construction              92.10%            Russia
                                                                         75.00% minus 1
LLC "PS Yandex.Money"                          Telecommunications                          Russia
                                                                         ruble
LLC "Crystal Towers"                           Construction              50.01%            Russia


In the first quarter of 2013, the final valuation of the net assets of DenizBank AS was conducted. The
final fair value assessment of the identifiable assets and liabilities of DenizBank AS at the acquisition
date did not significantly differ from the preliminary estimate.
In April 2013, DenizBank and Citibank signed an agreement for DenizBank to acquire Citibank's
retail banking division in Turkey. The transaction was approved by Turkish authorities in June 2013.
As of the approval date, Citibank's retail banking business in Turkey had more than 600,000 clients,
with a fair value of loans and advances to customers totaling 1.2 billion Turkish liras and a fair value
of deposits amounting to 1.4 billion Turkish liras. The acquisition of Citibank's retail banking division
in Turkey was completed in July 2013.




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